                                                                    Case 2:21-cv-00177-SRB Document 63 Filed 05/16/22 Page 1 of 5




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                                                          12
                                                          13                            UNITED STATES DISTRICT COURT
                                                                                            DISTRICT OF ARIZONA
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                                                          15
                                                               Grand Canyon University,                       No. 2:21-cv-00177-SRB
                                                          16
                                                                                    Plaintiff,                Plaintiff’s Motion to Supplement the
                                                          17                                                  Administrative Record and to Take
                                                               v.                                             Judicial Notice
                                                          18
                                                               Miguel Cardona, et al,
                                                          19
                                                          20                       Defendants.

                                                          21
                                                                       Grand Canyon University asks the Court to supplement the administrative record
                                                          22
                                                               with a Declaration from Jason Eberhardt (Ex. A). Mr. Eberhardt directed and oversaw BKD,
                                                          23
                                                               LLP’s independent assessment of a transfer pricing study performed by Deloitte LLP. Mr.
                                                          24
                                                               Eberhardt’s declaration is offered for the narrow purpose of identifying a typo in BKD’s
                                                          25
                                                               May 5, 2020 Report (AR-C-0316 – 0334). The Department improperly relied on that typo
                                                          26
                                                               in its January 12, 2021 reconsideration decision (AR-A-0019 – 0037). As stated in GCU’s
          Case 2:21-cv-00177-SRB Document 63 Filed 05/16/22 Page 2 of 5




1    Memorandum in Support of its Motion for Summary Judgment, the Department’s reliance
2    on that typo was critical to its analysis of Deloitte’s transfer pricing study.
3            GCU also asks this Court to supplement the administrative record with, or
4    alternatively, take judicial notice of, an April 5, 2022 Report from the Government
5    Accountability Office.
6            A. Declaration of Jason Eberhardt
7            Supplementation of the record is appropriate when extra-record documents may aid
8    the Court in understanding complex matters. Southwest Center for Biological Diversity v.
9    U.S. Forest Service, 100 F.3d 1443, 1450 (9th Cir. 1988). The IRS itself recognizes that
10   “transfer pricing examinations are factually intensive and require a thorough analysis.”
11   INTERNAL REVENUE MANUAL, pt. 4, ch. 61, sec. 4.61.3.1 The Department’s improper
12   reliance on a typo unnecessarily complicates that analysis.
13           Here, Mr. Eberhardt’s extra-record statements will aid the Court in understanding
14   the relevant transfer pricing analysis in this case. His declaration seeks only to clarify the
15   typo on which the Department improperly relied in contradiction to the plain language of
16   the applicable regulations. His other statements simply restate, in layman’s terms, BKD’s
17   conclusions in its May 4, 2020 report. Thus, they offer no new opinions or analysis. See
18   AR-C-03320 (concluding that Deloitte’s selection of Economic Profits Split transfer pricing
19   method was reasonable).
20           Supplementation of the record with Mr. Eberhardt’s declaration is also appropriate
21   because it demonstrates that the Department failed to consider relevant issues. See
22   Southwest, 100 F.3d at 1450. That is, the Department failed to consider the relevant transfer
23   pricing regulations and instead relied on a typo in an expert report which directly contradicts
24   the plain language of the regulations. Compare 26 CFR 1.482-1(c) (“An arm's length result
25
26
     1
         Available at: https://www.irs.gov/irm/part4/irm_04-061-003#idm139827281327616
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       Case 2:21-cv-00177-SRB Document 63 Filed 05/16/22 Page 3 of 5




1    may be determined under any method without establishing the inapplicability of another
2    method[.]” (emphasis added); with
3           B. GAO Report on Services Agreements
4           GCU also seeks to supplement the record with a recent report from the Government
5    Accountability Office (“GAO”). See GOV’T ACCOUNTABILITY OFFICE, EDUCATION NEEDS
6    TO   STRENGTHEN ITS APPROACH TO MONITORING COLLEGES’ ARRANGEMENTS WITH
7    ONLINE PROGRAM MANAGERS (April 5, 2022) (“GAO Report) (Ex. B). The GAO Report
8    discusses the prevalence of bundled services agreements similar to the Master Services
9    Agreement (“MSA”) between GCU and Grand Canyon Education, Inc. (“GCE”) and the
10   Department’s oversight of such agreements.
11          The GAO Report is offered to demonstrate that the Department’s failed to consider
12   relevant issues—namely, the widespread use of bundled services by other colleges—in its
13   disparate treatment of GCU. See Southwest, 100 F.3d at 1450 (holding that supplementation
14   is appropriate when the extra-record materials show that the agency did not consider all
15   relevant factors). GCU alleges it was arbitrary and capricious for the Department to deny
16   GCU’s nonprofit status based on the terms of the MSA when other colleges use services
17   agreement with similar and often less favorable terms. Indeed, the Administrative Record
18   does not reflect any consideration by the Department of the wide use of similar services
19   agreements used by other colleges and universities.
20          Specifically, the GAO found that hundreds of other nonprofit and public colleges
21   use services agreements, and it cited studies showing that many such agreements involve
22   revenue shares that are at or in excess of the revenue share under the MSA. GAO Report at
23   11, 15-16. In considering GCU’s argument that the Department should have considered
24   these agreements, it is important for the Court to understand not just the existence of similar
25   services agreements, but also their prevalence amongst other nonprofit and public colleges.
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       Case 2:21-cv-00177-SRB Document 63 Filed 05/16/22 Page 4 of 5




1           In the alternative, GCU asks the Court to take judicial notice of the GAO Report and
2    its findings under Fed. R. Evid. 201. Courts take judicial notice of “[t]he records and reports
3    of administrative bodies . . . as long as their authenticity is not disputed.” Daghlian v. DeVry
4    Univ., Inc., 461 F. Supp. 2d 1121, 1146 (C.D. Cal. 2006). Reports by the GAO are
5    considered to be “judicially cognizable apart from the record as authorities marshaled as
6    part of a legal argument.” Military Toxics Project v. EPA, 146 F.3d 948, 954 (1998).
7           The     Report      is   readily   available    from     the    GAO’s      website     at
8    https://www.gao.gov/assets/gao-22-104463.pdf, and its authenticity may not be reasonably
9    disputed. Moreover, the Department reviewed the GAO Report, and did not dispute any of
10   the findings or conclusions, recognizing “that colleges are increasingly seeking out third-
11   party [services providers].” GAO Report at 26-27. Thus, the GAO report can be accurately
12   and readily determined from the sources whose accuracy cannot reasonably be questions.
13   Fed. R. Evid. 201(b)(2).
14
15   Dated this May 16, 2022.
16
17                                                      Respectfully submitted,

18
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                                                                 Case 2:21-cv-00177-SRB Document 63 Filed 05/16/22 Page 5 of 5




                                                          1
                                                          2                                      Certificate of Service
                                                          3
                                                               I certify that on May 16, 2022, I electronically filed the above motion using the Court’s
                                                          4    CM/ECF system, which will send notice to all counsel.
                                                          5
                                                               /s/ Steven M. Gombos
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